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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
EMANUELA E. NEGRESCU,                )
                                     )
            Plaintiff,              )
                                    )
      v.                            )   Civil Action No. 1:20-cv-10886-RWZ
                                     )
TRUSTEES OF TUFTS COLLEGE,           )
                                     )
            Defendant.              )
                                    )

      PLAINTIFF’S AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                                       INTRODUCTION

       This action arises from the plaintiff, Emanuela E. Negrescu’s (“Plaintiff” or “Ms.

Negrescu”) enrollment at the Tufts University School of Dental Medicine, which is a division of

the Trustees of Tufts College. Defendant engaged in a pattern and practice of disability

discrimination against Ms. Negrescu, who suffers from generalized anxiety disorder with verbal

auditory hallucinations, a psychotic disorder, and a learning disability, while she sought to

complete her studies. Upon Ms. Negrescu engaging in protected conduct, including requests for

accommodations and her complaints to the Office for Civil Rights, Defendant repeatedly

retaliated against Plaintiff by interfering with her attempts to complete course work and/or

satisfy her graduation requirements. Defendant also breached an implied or express contract and

covenant of good faith and fair dealing.

       Ms. Negrescu has suffered substantial monetary damage and reputational harm on

account of Defendant’s unlawful practices, and she seeks to recover compensatory damages,

punitive damages, attorneys’ fees, costs, and non-monetary relief.




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                                    PARTIES

       1.      Ms. Negrescu is an individual with a principal residence located in Pepper

Pike, Ohio. At all times relevant hereto, Ms. Negrescu attended Tufts University School

of Dental Medicine in Boston, Suffolk County, Massachusetts.

       2.      Plaintiff attended the Tufts University School of Dental Medicine, which

is formally known as Defendant, Trustees of Tufts College, and is a private institution of

higher education (collectively, “Tufts Dental School” or “Defendant”).

       3.      Trustees of Tufts College has a principal place of business in Middlesex

County, Massachusetts, and Tufts University School of Dental Medicine is located at 1

Kneeland Street, Boston, Suffolk County, Massachusetts.

                                      FACTS

       4.      Ms. Negrescu, who was born in Moldova and whose first language is

Romanian, suffers from generalized anxiety disorder, learning disability(ies), and a

psychotic disorder. These disabilities cause her to experience verbal auditory

hallucinations, constant panic attacks, severe anxiety, and insomnia.

       5.      Ms. Negrescu is prescribed medications to control her disabilities. These

medications, which have varied over the years depending on the severity of her

symptoms, affect Ms. Negrescu, including, but not limited to, her ability to concentrate,

stay awake and focused, and, at times, to speak without slurring.

       6.      In or around August 2012, Ms. Negrescu enrolled in Tufts Dental School

and paid tuition (via student loans) for each year of her attendance.

       7.      On information and belief, Tufts Dental School receives financial

assistance from the federal government.



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       8.      Ms. Negrescu’s disabilities affected her major life activities while enrolled

at Tufts Dental School, including, but not limited to, her ability to see, perform

schoolwork, learn, concentrate, hear, and speak. Notwithstanding her disabilities, Ms.

Negrescu met the academic and technical standards requisite for admission and

participation in Tufts Dental School’s educational program.

       9.      Tufts Dental School mandates that its students complete certain courses,

including rotations, clinical programs, seminars, and workshops. Toward the conclusion

of year two and beginning of year three of the curriculum, students must take part in a

clinical program designed to provide comprehensive patient care. Upon the successful

completion of each year of study, a student is promoted to the next year.

       10.     The Office of Academic Affairs issues the Minimum Procedural

Experiences (“MPEs”), Competency Examinations (“CEs”), and the Point Program

system of 1,000 points, which outlines the requirements of the clinical program.

       11.     Pursuant to an express or implied contract between Tufts Dental School

and its students (including Ms. Negrescu), Defendant’s students are expected to obtain a

large portion of the 1,000-point threshold from MPEs of dental subspecialties

(prosthodontics, endodontics, periodontics, operative, etc.), and the remaining portion of

points from performing various other types of procedures.

       12.     Tufts Dental School keeps track of MPEs to ensure each student obtains

the necessary 1,000 points required to graduate.

       13.     In August 2013, Ms. Negrescu elected to re-start her first year of studies at

Tufts Dental School, and graduate with the class of 2017.




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        14.    Ms. Negrescu successfully completed her first year at Tufts Dental School

and, in August 2014, she started her second year.

        15.    As set forth herein, Ms. Negrescu engaged in multiple instances of

protected conduct with respect to Defendant.

        16.    In or around November 2014, Ms. Negrescu was diagnosed with a

learning disability and prescribed medications to assist her to concentrate in her studies.

Tufts Dental School was notified of Ms. Negrescu’s learning disability.

        17.    In or around late February 2015, Ms. Negrescu informed

Tuft’s Dental School’s Associate Dean for Admissions, Robert H. Kasberg, MD, that she

suffers from verbal auditory hallucinations and that she was feeling ill. Ms. Negrescu

asked Dr. Kasberg whether she could complete part I of her Dental Board exams after her

10-exam block at Tufts Dental School was complete because the pressure from the tests

was negatively affecting her health. Dr. Kasberg denied Ms. Negrescu’s request for a

reasonable accommodation despite allowing her similarly-situated, non-disabled

colleagues to do so.

        18.    In March 2015, Ms. Negrescu’s mother presented a note from Ms.

Negrescu’s physician to Dr. Kasberg as part of a request for medical leave from Tufts

Dental School, and also stated that Ms. Negrescu was suffering from anxiety disorder and

cognitive trouble, and that she was prescribed medications to cope with her disabilities.

        19.    Dr. Kasberg denied Ms. Negrescu’s request for medical leave to cope with

her disabilities despite allowing similarly-situated, non-disabled students to take medical

leave. Dr. Kasberg suggested that she withdraw from Tufts Dental School and reapply in

the future.



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       20.     Despite knowledge of Ms. Negrescu’s disabilities, Dr. Kasberg notified

Ms. Negrescu that she would need to reapply to Tufts Dental School given she had only

completed part I of her Dental Board exams.

       21.     In March 2015, Ms. Negrescu traveled home to Ohio to be with her

parents and seek medical treatment for her disabilities. Ms. Negrescu continued to

experience verbal auditory hallucinations.

       22.     In or around October 2015, Ms. Negrescu successfully re-took part I of her

Dental Board exams and, shortly thereafter, re-applied to Tufts Dental School.

       23.     In or around August 2016, Ms. Negrescu started her second year at Tufts

Dental School, and sought to graduate with the class of 2019.

       24.     Ms. Negrescu completed her second and third years at Tufts Dental School

despite suffering severe issues with her disabilities, including acute auditory verbal

hallucinations, generalized anxiety, severe panic attacks, and insomnia.

       25.     During this time, Ms. Negrescu was prescribed various medications,

including anti-psychotics, sleep medication, and medications for panic attacks, anxiety

and depression.

       26.     During Ms. Negrescu’s third year of studies, she contacted Tufts Dental

School’s Assistant Dean for Academic Affairs, Michael Thompson, MD, and requested

that she be assigned tutors for two of her classes to assist her with her disabilities.

Although Ms. Negrescu’s request for accommodation was reasonable, Dr. Thompson

denied her request.

       27.     During Ms. Negrescu’s third year of studies, she began to experience

severe anxiety with accentuated verbal auditory hallucinations.



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       28.     In May 2018, Ms. Negrescu met with Tufts Dental School’s Practice

Coordinator, Dr. Alberto Sarmiento. Dr. Sarmiento informed Ms. Negrescu that she was

behind in points and that she was being watched by 15 floor monitors. Ms. Negrescu

informed Dr. Sarmiento that her doctor was trying to figure out if she had schizophrenia.

Ms. Negrescu also informed Dr. Sarmiento that although her medications were helping

her, they made her drowsy. Dr. Sarmiento told Ms. Negrescu to see the Tufts Dental

School’s Director, Student Affairs, Katherine Vosker.

       29.     On or around May 15, 2018, Ms. Negrescu met with Ms. Vosker. At this

time, Ms. Negrescu informed Ms. Vosker of her auditory hallucinations and that her

doctor suspected that she may be schizophrenic, and Ms. Negrescu asked to have an

accommodation with respect to obtaining a teaching assistant to assist her with

Prosthodontics lab.

       30.     On or around June 7, 2018, in furtherance of Ms. Negrescu’s request for a

reasonable accommodation, Ms. Vosker acknowledged receiving medical information

from Ms. Negrescu documenting her disability(ies).

       31.     Sometime around June 19, 2018, Tufts Dental School denied Ms.

Negrescu’s request for a reasonable accommodation.

       32.     In August 2018, Ms. Negrescu was promoted to her fourth and final year

at Tufts Dental School. At that time, Ms. Negrescu expected to graduate in May 2019.

       33.     On or around November 9, 2018, Ms. Negrescu requested an

accommodation, so that she could see patients in clinic during the 4:30pm time slot while

she was completing her externship, and in order to assist her in completing her points




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requirements. Ms. Negrescu’s request was denied, despite the fact that Tufts Dental

School allowed similarly-situated, non-disabled students similar requests.

       34.     On or around January 4, 2019 Ms. Negrescu met with Tufts Dental

School’s Director of Clinical Progress Committee, Dara Rogers, regarding the number of

points Ms. Negrescu needed to graduate. Ms. Negrescu requested to meet with Dr.

Rogers on a monthly basis to ensure she was on track to graduate on time.

       35.     Ms. Negrescu worked tirelessly to obtain the necessary 1,000 points and to

complete all MPEs and competencies by August 2019, so that she did not have to enroll

in another year of studies at Tufts Dental School, which is incredibly expensive.

       36.     On or around August 26, 2019 Ms. Negrescu completed all graduate

requirements of Tufts Dental School by completing the necessary procedures, MPEs,

CEs, and obtaining in excess of 1,000 points.

       37.     On or around August 26, 2019, “out of the blue” Dr. Kasberg notified Ms.

Negrescu that she had performed too many occlusal guard procedures, and requested that

she schedule an appointment with Dr. Rogers and, then, with Associate Professor and

Chair of the Ethic Committee, Kathryn Ragalis, to discuss this issue.

       38.     Ms. Negrescu was shocked by Dr. Kasberg’s incredibly serious allegation,

as she was unaware that there was a policy regarding the number of occlusal guard

(dental devices that prevent teeth grinding) procedures that could be performed, as such a

policy was not conveyed to the students (D19 class). Ms. Negrescu was aware of

similarly-situated, non-disabled students in her class who had performed the same

number of occlusal guard procedures as Ms. Negrescu, and who had been awarded points

by Tufts Dental School for doing so.



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        39.      Additionally, pursuant to an express or implied contract between Tufts

Dental School and its students (including Ms. Negrescu), all of Ms. Negrescu’s dental

procedures were approved and supervised by faculty after informed consent of all her

patients.

        40.      In or around the end of August 2019, Ms. Negrescu met with Assistant

Professor, Sheldon Yunes, MD, at his private office to discuss the allegation lodged

against her regarding occlusal guard procedures. Dr. Yunes told Ms. Negrescu that he

was unaware of any policy limiting the number of occlusal guard procedures a student

could perform.

        41.      In or around late August 2019, as part of an arbitrary investigation into

Ms. Negrescu, Dr. Ruby Ghaffari and Dr. Rogers (employees of the Defendant)

questioned students at Tufts Dental School who received dental treatment from Ms.

Negrescu. Ms. Negrescu was not provided information regarding this investigation.

        42.      On or around September 4, 2019, Ms. Negrescu met with Drs. Ghaffari

and Rogers. Dr. Rogers began shouting and verbally berating Ms. Negrescu, including

calling her a “high liability,” and asking her in an insulting manner, why she started a

three-unit bridge if she could not finish it. Dr. Ghaffari also falsely informed Ms.

Negrescu that there were multiple complaints from patients. Ms. Negrescu was terrified

of the conduct of Drs. Ghaffari and Rogers.

        43.      On or around September 9, 2019 Ms. Negrescu again met with Drs.

Rogers and Ghaffari, where she was notified that they were reporting her to Tufts Dental

School’s Ethics, Professionalism and Citizenship Committee (“EPC”). Ms. Negrescu

was in shock.



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       44.     Defendant, by and through Drs. Rogers and Ghaffari, placed Ms. Negrescu

on clinical suspension from September 9, 2019 until November 5, 2019, which affected

her ability to satisfy graduation requirements, including the ability to take patients off of

her roster, thus prolonging the amount of time Ms. Negrescu had to remain paying tuition

to Defendant. On information and belief, these actions violated Defendant’s own policies

and procedures because there was no finding by the EPC, and a non-disabled student who

was suspended without an EPC hearing was re-instated.

       45.     Shortly thereafter, Ms. Negrescu was notified that the EPC was

investigating alleged ethical violations by her, and that Ms. Negrescu may be dismissed

from Tufts Dental School. Ms. Negrescu was stunned and incredibly upset by this

accusation.

       46.     On or around September 10, 2019 Ms. Negrescu received a letter from

EPC outlining the ethical allegations against her. It was clear to Ms. Negrescu that Tufts

Dental School, including Dr. Kasberg, was treating her differently than her fellow

students because of her disabilities.

       47.     On or around September 24, 2019 Ms. Negrescu engaged in protected

conduct by filing a complaint with the Department of Education’s Office of Civil Rights

(“OCR”) alleging disability discrimination.

       48.     On or around September 26, 2019 Ms. Negrescu met with the Dean of

Tufts Dental School, Nadeem Karimbux, to inform him about her OCR complaint. Dr.

Karimbux directed her to speak with Dr. Kasberg.

       49.     On or around October 14, 2019 Ms. Negrescu’s attorney also sent a letter

to Defendant describing how (among other things): Defendant violated its own policies



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and procedures; Defendant treated Ms. Negrescu disparately relative to non-disabled

students; Defendant failed to produce evidence in advance of a hearing to determine

whether or not Ms. Negrescu committed ethical violations, thus inhibiting Ms.

Negrescu’s ability to fully understand the allegations and defend herself against the same;

and Ms. Negrescu had filed a complaint against the Defendant with OCR.

       50.     On or around October 15, 2019 Ms. Negrescu sent an email to Dr. Vosker

requesting a reasonable accommodation that her legal counsel be present for her EPC

hearing. Defendant denied this request.

       51.     Although Defendant assured Ms. Negrescu that the EPC hearing was not

designed to surprise her in any way, Defendant failed to provide Ms. Negrescu with the

requisite specificity (as much specificity as possible) relative to the particular factual

events that constituted the violations that she allegedly committed. In fact, when Ms.

Negrescu asked for specific information, Defendant moved the date of the hearing twice

and eventually changed allegations against Ms. Negrescu.

       52.     On November 5, 2019, Ms. Negrescu attended the EPC hearing and

explained in detail her version of events. As Defendant was aware, Ms. Negrescu had

panic attacks and anxiety, and her medication made her drowsy and slurred her speech.

Further, English is not Ms. Negrescu’s first language. Prior to this hearing, Ms. Negrescu

asked for a reasonable accommodation to have legal counsel present because it was

difficult to artfully explain her version of events and to respond to the allegations.

Defendant denied this request.

       53.     Shortly thereafter, Dr. Kasberg informed Ms. Negrescu about the EPC’s

adverse decision, which required her to complete three additional externship cycles. Dr.



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Kasberg also told Ms. Negrescu that it would worsen her situation if she appealed the

EPC’s decision.

       54.     After Defendant was aware that Ms. Negrescu filed a second complaint

with the OCR, in retaliation, Defendant took points away from Ms. Negrescu that she had

earned without even telling Ms. Negrescu until after the OCR intervened. Further,

Defendant punished Ms. Negrescu more harshly than it should have and/or more harshly

than other, non-disabled students who behaved in a manner similar to that of Ms.

Negrescu.

       55.     Per Dr. Kasberg’s suggestion, Ms. Negrescu did not appeal the EPC’s

decision despite disagreeing with the findings.

       56.     The EPC decision further affected Ms. Negrescu’s ability to satisfy all

graduation requirements and caused her further damage.

       57.     On or around November 7, 2019, in an effort to comply with the

Defendant’s own requirements relative to the EPC, Ms. Negrescu contacted Associate

Professor, Dr. Cynthia Yered, regarding obtaining an externship. Ms. Negrescu was

seeking to complete the externship requirements in a timely fashion in order to graduate.

       58.     In a rather abrasive tone and terse manner, Dr. Yered told Ms. Negrescu

that she (Dr. Yered) will be absent for one month, she would be unavailable during that

month, and she did not believe there were any available externships.

       59.     Tufts Dental School attempted to further retaliate against Ms. Negrescu

and intentionally set her up to fail with respect to complying with the requirements

established by the EPC for Plaintiff to graduate.




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          60.   Ms. Negrescu knew there were available externships because she

contacted potential externship sites herself. It was clear that Tufts Dental School was

discriminating against her and/or retaliating against her for filing the OCR complaint.

          61.   On or around November 7, 2019 Dr. Ragalis notified Ms. Negrescu that

Tufts Dental School was requiring her to “make up” 225 points to reach the necessary

1,000 points for graduation, despite Ms. Negrescu already completing in excess of 1,000

points.

          62.   On or around November 8, 2019 Ms. Negrescu—without any help from

Tufts Dental School and contrary to Dr. Yered’s representation—found available

externship opportunities. Ms. Negrescu called a location in Florida and confirmed with

one of the doctors that there were two cycles available.

          63.   On or around November 9, 2019 Ms. Negrescu sent an email to Dean

Karimbux, Dr. Kasberg, Dr. Thompson, Dr. Ragalis, and several EPC members about

available externship opportunities.

          64.   Shortly thereafter, Dr. Ragalis sent an email to Ms. Negrescu stating that

she was prohibited from contacting externship sites. Notably, Dr. Ragalis failed and/or

refused to assist Ms. Negrescu find an externship—which was required in order for her to

graduate—hence Ms. Negrescu’s urgency.

          65.   On or around November 14, 2019 Ms. Negrescu met with Dr. Ragalis,

who informed Ms. Negrescu again that she was not allowed to contact sites, and must

wait for Dr. Yered’s return from a leave of absence. This, again, affected Ms. Negrescu’s

ability to complete the externship requirements in a timely fashion in order to graduate.




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       66.     On December 3, 2019 Dr. Yered emailed Ms. Negrescu to notify her that

her requirements were undetermined at this time, and Dr. Ragalis would be in touch with

her when a determination has been made.

       67.     Shortly thereafter, on December 3, Ms. Negrescu sent an email to Dr.

Ragalis stating that there were externship spots available and she does not understand

why Tufts Dental School, through Dr. Yered, was prohibiting her from seeking an

externship.

       68.     On December 4, 2019 Ms. Negrescu attended a meeting with Dr. Ragalis,

where Ms. Negrescu stated to Dr. Ragalis that Dr. Yered informed her that there are no

externship spots available. Dr. Ragalis also informed Ms. Negrescu that she will do her

best to find a solution with the EPC as soon as possible.

       69.     In or around mid-December 2019, Ms. Negrescu filed a second OCR

complaint. OCR representative, Sandy Lin, notified Tufts Dental School of the

complaint, and requested certain documentation related thereto.

       70.     Ms. Negrescu continued to tirelessly work to find externships in order to

complete her studies, however, Tufts Dental School, through Dr. Yered, repeatedly

refused to allow her various externships—even when openings existed—and intentionally

interfered with and/or delayed Ms. Negrescu’s ability to graduate.

       71.     During the time that Tufts Dental School was intentionally delaying Ms.

Negrescu’s ability to comply with the EPC directives, Ms. Negrescu unnecessarily paid

additional tuition in the amount of approximately $27,000.00.

       72.     In or around January 2020, Tufts Dental School sent a letter to Ms.

Negrescu stating that she no longer qualified for financial aid because she did not



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  complete her studies within six years. Accordingly, due to Tufts Dental School’s refusal

  to assist Ms. Negrescu complete her studies, she was financially penalized.

          73.     In or around January 2020, Ms. Negrescu discovered that Tufts Dental

  School had incorrectly deducted points from her record for procedures that had been

  approved by professors as part of the Axium Program.

          74.     In early February 2020, Ms. Negrescu received a new, follow-up ruling

  from the EPC, stating that Ms. Negrescu must return to clinic to graduate. The EPC

  documents did not provide any type of meaningful accounting of the number of points

  taken away, including, but not limited to, what procedures they were taken away for, the

  basis for taking away any such points, and/or the patients for which any such points were

  taken away. Rather, the ruling made the process of obtaining points more tedious and

  unclear, which created additional obstacles to Ms. Negrescu’s graduation, although she

  has since graduated.

                           COUNTS OF THE COMPLAINT

                            -COUNT I-
 DISABILITY DISCRIMINATION IN VIOLATION OF SECTION 504 OF THE
REHABILITATION ACT OF 1973 AND THE AMERICANS WITH DISABILITIES
   ACT, AS AMENDED (INCLUDING APPLICABLE CODES OF FEDERAL
                        REGULATIONS)

          75.     Plaintiff hereby restates and incorporates each paragraph of this Complaint

  as if fully stated herein.

          76.     Section 504 of the Rehabilitation Act of 1973 and the Americans with

  Disabilities Act (together with applicable code(s) of federal regulations) prohibit(s)

  discrimination against students with disabilities.




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            77.     Ms. Negrescu has had recognized disabilities during her enrollment at

    Tufts Dental School.

            78.     Defendant had direct knowledge of Ms. Negrescu’s disabilities.

            79.     Defendant tolerated, created, maintained, and failed to remedy disability

    discrimination that had the effect and/or purpose of unreasonably interfering with Ms.

    Negrescu’s school environment.

            80.     Defendant failed to engage in the interactive process with Ms. Negrescu.

            81.     Defendant failed to provide reasonable accommodations for Ms.

    Negrescu.

            82.     Defendant’s actions and treatment of Ms. Negrescu were outrageous,

    egregious, evil in motive and/or undertaken with reckless indifference to her rights.

            83.     As a result of the Defendant’s actions, Ms. Negrescu has suffered

    damages.

                            -COUNT II-
RETALIATION IN VIOLATION OF SECTION 504 OF THE REHABILITATION ACT
   OF 1973 AND THE AMERICANS WITH DISABILITIES ACT, AS AMENDED
      (INCLUDING APPLICABLE CODES OF FEDERAL REGULATIONS)

            84.     Plaintiff hereby restates and incorporates each paragraph of this Complaint

    as if fully stated herein.

            85.     Ms. Negrescu engaged in protected activities when she notified Defendant

    of her disabilities, requested reasonable accommodations, and filed complaints with the

    OCR.

            86.     Defendant engaged in adverse and retaliatory conduct against Ms.

    Negrescu as a result of her engaging in protected activities.




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        87.     As a result of Defendant’s actions as detailed herein, Ms. Negrescu has

suffered damages.

                                 -COUNT III-
                             BREACH OF CONTRACT

        88.     Plaintiff hereby restates and incorporates all paragraphs of this Complaint

as if fully stated herein.

        89.     Ms. Negrescu had a contract or implied contract with Defendant.

        90.     Ms. Negrescu and Defendant entered into a binding contract wherein,

among other things, Defendant made written and oral representations to Ms. Negrescu

regarding what was required of her to complete course work and/or graduate.

        91.     Defendant breached the contract, including, but not limited to, by

changing its requirements for Ms. Negrescu to complete course work and/or obtain

points, falsely creating policies designed to delay Ms. Negrescu’s completion of course

work and/or her graduation, taking away points in an arbitrary fashion or contrary to

Defendant’s own policies, making it difficult for Ms. Negrescu to defend herself at the

EPC hearing, and/or extending the amount of time needed for Ms. Negrescu to graduate.

        92.     By breaching its contract with Ms. Negrescu, Defendant caused Ms.

Negrescu damages, including, but not limited to, forcing her to spend additional monies

on tuition, room and board, other expenses, and delaying her graduation and/or ability to

obtain a job as a dentist and other contractual damages.

        93.     As a result of Defendant’s actions, Ms. Negrescu has suffered damages.




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                            -COUNT IV-
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

               94.     Plaintiff hereby restates and incorporates all paragraphs of this Complaint

       as if fully stated herein.

               95.     Ms. Negrescu and Defendant had a binding contract which, as with all

       Massachusetts contracts, contained an implied covenant of good faith and fair dealing

       between the parties.

               96.     For reasons stated above, Defendant breached the implied covenant of

       good faith and fair dealing in the parties’ agreement.

               97.     As a result of Defendant’s actions, Ms. Negrescu has suffered damages.



                                    PRAYER FOR RELIEF

       Plaintiff, Emanuela E. Negrescu, prays that this Honorable Court award a judgment in her

favor and against the Defendant, for the following relief:

               1.      Compensatory, punitive, emotional distress, reputational, potential loss of

       income, consequential and/or other applicable damages;

               2.      Costs and expenses of this action;

               3.      Attorneys’ fees;

               4.      Prejudgment and post-judgment interest; and

               5.      Such further relief as the Court deems fair and just.



                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury on every claim so triable.




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                                    Respectfully submitted,

                                    EMANUELA E. NEGRESCU,

                                    By her attorneys,



Dated: July 29, 2020                /s/ Todd J. Bennett            .
                                    Todd J. Bennett (BBO# 643185)
                                    tbennett@bennettandbelfort.com
                                    Craig D. Levey (BBO# 681531)
                                    clevey@bennettandbelfort.com
                                    Bennett & Belfort, P.C.
                                    24 Thorndike Street, Suite 300
                                    Cambridge, MA 02141
                                    (617) 577-8800




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